       Case 1:20-cv-02016-MRS         Document 60       Filed 11/26/24    Page 1 of 2




               IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 AECOM ENERGY & CONSTRUCTION,
 INC.,

                       Plaintiff,
                                                Case No. 20-2016 C
               v.

 THE UNITED STATES OF AMERICA,

                       Defendant.



                          RULE 7.1 DISCLOSURE STATEMENT

       Pursuant to Rule 7.1 of the Rules of the Court of Federal Claims, Plaintiff AECOM

Energy & Construction, Inc. hereby provides the following disclosure:

       AECOM Energy & Construction, Inc. is now known as Amentum Environment &

       Energy, Inc. Amentum Environment & Energy, Inc. is wholly owned by

       Amentum Nuclear & Environment Holdings, Inc., a privately held corporation.

       Amentum Nuclear & Environment Holdings, Inc. is wholly owned by Amentum

       N&E Holdings LLC. Amentum N&E Holdings LLC is wholly owned by

       Amentum Holdings LLC. Amentum Holdings LLC is wholly owned by

       Amentum Holdings, Inc., which is publicly traded on the New York Stock

       Exchange under symbol AMTM.
     Case 1:20-cv-02016-MRS   Document 60    Filed 11/26/24     Page 2 of 2




November 26, 2024                     Respectfully submitted,

                                      /s/ Charles C. Speth
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